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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-2061V
                                        UNPUBLISHED


    FRANCISCO MARCILLO,                                     Chief Special Master Corcoran

                        Petitioner,                         Filed: September 3, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Tetanus Diphtheria
                                                            acellular Pertussis (Tdap) Vaccine;
                       Respondent.                          Vasovagal Syncope


Alison H. Haskins, Maglio Christopher & Toale, PA, Sarasota, FL, for Petitioner.

Laurie Wiesner, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On December 30, 2020, Francisco Marcillo filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered from a syncopal episode after receiving
a tetanus, diphtheria, and acellular pertussis (“Tdap”) vaccine on March 13, 2020, which
resulted in injury. Petition at 2. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

       On September 2, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent states that “petitioner has satisfied the criteria set forth in the
recently revised Vaccine Injury Table (“Table”) and the Qualifications and Aids to

1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Interpretation (“QAI”), which afford petitioner a presumption of causation if the onset of
vasovagal syncope occurs within one hour after a Tdap vaccination and there is no
apparent alternative cause”. Id. at 7. Respondent further agrees that “petitioner
experienced more than six months of residual effects.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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